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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES-GENERAL

Case No.: ED CV 18-2480-VBF (PLA)                                                      Date: November 24, 2021

Title:    Lee Arthur Fort v. R. C. Johnson, Warden


PRESENT: THE HONORABLE                  PAUL L. ABRAMS
                                        UNITED STATES MAGISTRATE JUDGE
         Christianna Howard                                 N/A                                             N/A
          Deputy Clerk                              Court Reporter / Recorder                            Tape No.

ATTORNEYS PRESENT FOR PETITIONER:                                     ATTORNEYS PRESENT FOR RESPONDENT:
                NONE                                                                   NONE

PROCEEDINGS: (IN CHAMBERS)

On November 29, 2018, this Court issued an Order granting petitioner’s request for a stay in this matter, subject
to certain terms and conditions. (ECF No. 8). Petitioner was ordered to file a status report informing the Court
of his progress in exhausting his currently unexhausted claims in state court. The most recent status report was
due on or before November 8, 2021. To date, petitioner’s status report has not been filed with this Court.

Accordingly, no later than December 20, 2021, petitioner is ordered to show cause why the stay in this action
previously imposed by the Court should not be lifted. Filing the required status report with this Court and strict
compliance with the additional requirements set forth in the Court’s November 29, 2018, Order, shall be deemed
compliance with this Order to Show Cause. Failure to file the status report will result in the stay being lifted.


cc:      Lee Arthur Fort, pro se




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